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          17                   UNITED STATES DISTRICT COURT
          18     FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

          19     MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          20     CERCACOR LABORATORIES, INC.,
                 a Delaware corporation,                     APPLE’S NOTICE AND EX PARTE
                                                             APPLICATION FOR AN ORDER
          21                                                 SCHEDULING A CASE
                                    Plaintiffs,
                                                             MANAGEMENT CONFERENCE
          22
                       v.
          23                                                 Hon. James V. Selna
                 APPLE INC.,
                 a California corporation,                   No Hearing Noticed
          24
                                    Defendant.               Discovery Cut-Off: 7/5/2021
          25                                                 Pre-Trial Conference: 3/21/2022
                                                             Trial:                4/5/2022
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            1          PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, Defendant Apple
            2    Inc. (“Apple”) hereby applies ex parte for an Order scheduling a case management
            3    conference. Apple docketed this motion to be heard by Judge Selna because Apple seeks
            4    modification of the case schedule, and Local Rule 16-14 requires that an “application to
            5    modify an order entered under Rule 16 shall be made to the judicial officer who entered
            6    the order.”
            7          In accordance with Local Rule 7-19.1, Apple’s Counsel notified Counsel for
            8    Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (“Plaintiffs”) of this
            9    Application on August 4, 2020, at 9:45 am PST. Andrea Decl. ¶ 4. Plaintiffs indicated
          10     they intend to oppose Apple’s Application. Id.
          11           The contact information for Plaintiffs’ counsel is as follows:
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                       This Ex Parte Application is based on this Notice, the below Memorandum of
          28
                 Points and Authorities, the accompanying Declaration of Brian K. Andrea and Exhibits
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            1    appended thereto, all other papers and pleadings on file in this action, all matters of
            2    which judicial notice may be taken, and such argument and evidence as may be
            3    presented at the hearing on this Application, if any.
            4            I.     MEMORANDUM OF POINTS AND AUTHORITIES
            5          Apple brings this Ex Parte Application to request that the Court order a case
            6    management conference to discuss preparation of a new schedule. During the July 10
            7    hearing on the reduction of claims, the Court stated that if Plaintiffs change the asserted
            8    patents, the Court “would reevaluate the dates for infringement and invalidity
            9    contentions in light of that on a fairly short ex-parte basis.” See 7/10/20 Hearing Tr. at
          10     9:5-8. That is exactly what has happened. The landscape of this case has changed
          11     significantly from when the current Scheduling Order was entered, as Plaintiffs just a
          12     week ago indicated that they seek to drop half of the originally asserted patents1 (which
          13     Apple already expended significant resources investigating) and are asserting five new
          14     patents. See Dkt. 89-1 (Proposed Second Amended Complaint).2
          15           The five newly-asserted patents contain many asserted claims with new
          16     limitations that did not appear in any of the previously asserted patents or claims. For
          17     example, the claims include recitations directed at the size of the monitoring device,
          18     specific communications between the monitoring device and a mobile phone, various
          19     limitations related to touch-screen displays and orientation changes, a specific type of
          20     strap, processors configured to modulate the duty cycle of emitters, parallel connection
          21     of multiple groups of four or more photodiodes to provide parallel signal streams,
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          24        Plaintiffs originally asserted ten patents, five of which have now been dropped. Dkt.
                 1 ¶¶ 29-38. Plaintiffs later added two additional patents, which both remain in the case.
          25     Dkt. 28. Plaintiffs also stated that they are now asserting approximately 250 claims from
                 among the asserted patents, including all but three of the claims of each of the five new
          26     patents.
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          27        Plaintiffs’ Second Amended Complaint has not yet been filed and thus is not yet the
                 operative Complaint, but rather has only been attached to an application to file it under
          28     seal. Dkt. 89.

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            1    specific types of preprocessing electronics, and various types of optical paths.3 Indeed,
            2    of the nearly 250 claims now being asserted, 130 of them—over half—are brand new
            3    claims that Apple saw for the first time a week ago. Now, months into the litigation,
            4    Apple must analyze these new claims, including, but not limited to, assessing Plaintiffs’
            5    infringement allegations, performing invalidity searching, reviewing prior art, and
            6    investigating written description and priority support.
            7          Under the current schedule, Apple’s invalidity contentions are due in less than
            8    five weeks, on September 7, 2020 (before Plaintiffs are required to serve their
            9    infringement contentions), and the parties are due to submit a joint proposal regarding
          10     claim narrowing two weeks later. Apple respectfully submits that the current schedule
          11     is unfair and prejudicial to Apple, since it does not allow sufficient time for Apple to
          12     investigate the newly-asserted patents or prepare its defenses to those patents (including
          13     performing prior art searching and preparing invalidity contentions). Apple met and
          14     conferred with Plaintiffs to request preparation of a new schedule that reflects the newly-
          15     added patents, but Plaintiffs would not agree that a new schedule is appropriate. Andrea
          16     Decl. ¶ 5. Plaintiffs also refused to submit a joint request for a case management
          17     conference to discuss scheduling. Id.
          18           Apple understands and has complied with the Court’s recent Order Granting
          19     Plaintiffs’ Renewed Ex Parte Application for an Order Requiring Apple to Comply With
          20     the Scheduling Order (Dkt. 92). To that end, Plaintiffs have already downloaded and
          21     are reviewing the core technical documents Apple previously produced. Moreover,
          22     Apple made arrangements for Plaintiffs to review Apple’s source code on August 3,
          23     2020, and Apple is working as quickly as possible to search for any additional
          24     documents that may be relevant to the 130 new claims Plaintiffs have added to the case.
          25     To the extent Apple implied in its briefing on Plaintiffs’ Renewed Ex Parte Application
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                    Thus, the fact that these newly asserted patents are in the same family as some of the
                 previously-asserted patents does not lessen the significant impact their addition has on
          28     the posture of this case, or reduce the amount of effort required for Apple to prepare
                 adequate defenses.
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            1    that it was not willing to, or had not, produced its core technical documents, Apple did
            2    not intend to do so. Apple has taken, and continues to take its obligations to produce
            3    core technical documents seriously.
            4          The issue presented here is a separate and independent scheduling issue that was
            5    not resolved in the Court’s previous Order, yet requires immediate resolution. In its
            6    Opposition to Plaintiffs’ Renewed Ex Parte Application, Apple requested a reciprocal
            7    extension of the due date for its invalidity contentions in the event the Court granted an
            8    extension of the deadline for Plaintiffs’ infringement contentions. See Dkt. 85 14-15.
            9    The Court’s Order extended the due date for Plaintiffs’ infringement contentions until
          10     forty-two (42) days “after Apple completes its production of core technical documents,”
          11     but did not address the deadline for Apple’s invalidity contentions. See Dkt. 92 ¶ 3.
          12     Accordingly, Apple requests that the Court schedule a case management conference to
          13     discuss a reasonable schedule that allows the parties sufficient time to prepare their
          14     contentions, particularly for the patents Plaintiffs just added to the case, prior to moving
          15     into claim construction and the remainder of the schedule.
          16     A.    The Current Schedule Is Prejudicial and Unfair to Apple
          17           The current schedule in this case eliminates the “staging” of contentions set forth
          18     in the Court’s original Scheduling Order, which is used by nearly all district courts for
          19     patent cases, including this District. The following table sets forth the upcoming
          20     deadlines in view of the Court’s amendment to the deadline for Plaintiffs’ infringement
          21     contentions:
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            1
                                        Event                                Current Deadline
            2
                                                                           September 7, 2020
            3             Apple’s Invalidity Contentions
                                                                             (Dkt. 33 at 25)
            4
                                                                          September 14, 2020
            5          Plaintiffs’ Infringement Contentions
                                                                             (Dkt. 92 ¶ 3)4
            6          Parties’ proposal for initial reduction            September 21, 2020
            7           of claims and prior art references          (7/10/20 Hearing Tr. at 4:6-14)5
            8           The above schedule is unfair and prejudicial to Apple for multiple reasons. First,
            9    Plaintiffs only very recently (July 24, 2020) filed a proposed Second Amended
          10     Complaint that seeks to drop five of the previously-asserted patents and add five new
          11     patents. If Apple is required to serve its invalidity contentions on September 7, 2020, as
          12     set forth in the current schedule, that leaves it with less than five weeks to analyze the
          13     claims in the newly-asserted patents, perform prior art searching on those claims, prepare
          14     its defenses on the patents, and prepare its invalidity contentions. It is simply not
          15     possible or fair for Apple to perform a complete and rigorous analysis in that amount of
          16     time. Notably, the original Scheduling Order (Dkt. 37, April 17, 2020) provided Apple
          17     just under five months (4 months and 21 days) to analyze the asserted patents and prepare
          18     its invalidity contentions. It would be prejudicial to provide Apple with only a quarter
          19     of that amount of time to do the same amount of work on the 130 new asserted claims.
          20            Second, the current schedule requires Apple to serve its invalidity contentions
          21     before Plaintiffs’ serve their infringement contentions. This is completely contrary to
          22     the local rules and the reasons courts, including the Court in this case, utilize staged
          23
          24      4
                    The Court extended Plaintiffs’ deadline for infringement contentions “until forty-two
          25     (42) days after Apple completes its production of core technical documents.” Dkt. 92
                 ¶ 3. This deadline is forty-two days after Apple first made its source code available for
          26     Plaintiffs’ inspection (Apple previously produced its other core technical documents).
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          27        During the hearing, the Court suggested that the parties would extend the current
                 deadlines for Markman proceedings after adopting a specific case narrowing proposal.
          28     See 7/10/20 Hearing Tr. at 4:15-5:4.

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            1    contentions. See N.D. Cal. Patent L.R. at 3-36 (setting deadline for invalidity contentions
            2    “not later than 45 days after service” of infringement contentions); see O2 Micro Intern.
            3    Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1365-66 (Fed. Cir. 2006) (local
            4    patent rules require “both the plaintiff and the defendant in patent cases to provide early
            5    notice of their infringement and invalidity contentions”); Farstone Tech., Inc. v. Apple
            6    Inc., No. , 2015 WL 3901708, at *2 (C.D. Cal. June 24, 2015) (“‘the deadlines for
            7    serving infringement and invalidity contentions, exist for a reason—to provide for the
            8    orderly and timely disposition of a case while providing adequate notice to opposing
            9    sides of the theories of the case’” (quoting Catch a Wave Techs., Inc. v. Sirius XM Radio,
          10     Inc., No. C12-05791 WHA, 2014 WL 186405, at *1 (N.D. Cal. Jan. 16, 2014)));
          11     NetAirus Techs, LLC v. Apple Inc., No. LA CV10-03257 JAK (Ex), 2012 WL 12124908,
          12     at *4 (C.D. Cal. Dec. 5, 2012) (noting the desire to “‘disallow[] infringement contentions
          13     from becoming moving targets throughout the lawsuit’” (quoting CBS Interactive, Inc.
          14     v. Etilize, Inc., 257 F.R.D. 195, 201 (N.D. Cal. 2009))).
          15            It would be unfair to require Apple to prepare its invalidity contentions on the
          16     asserted patents without receiving Plaintiffs’ disclosure of asserted claims and its
          17     allegations regarding infringement. While Plaintiffs provided a version of infringement
          18     contentions one week ago, those contentions do not include allegations as to how the
          19     Accused Apple Watch products infringe each and every limitation; rather, they simply
          20     parrot the claim language and then cite to Apple’s published patent applications or web
          21     site, providing no more detail than Plaintiffs’ Second Amended Complaint and Exhibit
          22     1 attached to that Complaint. See, e.g., Andrea Decl., Ex. A at 16; Dkt. 89-1 (Proposed
          23     Second Amended Complaint). Those contentions also include a broad reservation of
          24     rights to “modify, amend, or otherwise supplement” after they review Apple’s technical
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                     As set forth in this Court’s Order Setting Rule 26(f) Conference, this Court follows
          27     the Local Patent Rules of the Northern District of California. See Dkt. 19 at 2
                 (referencing Order Setting Rule 26(f) Scheduling Conference, available at
          28     https://www.cacd.uscourts.gov/sites/default/files/documents/JVS/AD/OrderSettingSch
                 edConfRVSD.pdf).
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            1    documents (id. at 5) and in fact, now that Apple has provided source code, Plaintiffs are
            2    obligated to supplement their contentions to cite source code. Big Baboon Corp. v. Dell,
            3    Inc., 723 F. Supp. 2d 1224, 1227 (C.D. Cal. 2010); Kinglite Holdings Inc. v. Micro-Star
            4    Int’l Co., No. CV1403009JVSPJWX, 2016 WL 6762573, at *2 (C.D. Cal. June 15,
            5    2016). Moreover, Plaintiffs’ infringement contentions do not identify asserted claims
            6    for the ’776 patent or provide any allegations of infringement of that patent. Andrea
            7    Decl., Ex. B. When Apple alerted Plaintiffs of this fact, they were told that “[a]ll 16
            8    claims of the ’776 Patent are asserted, and we will provide infringement contentions in
            9    accordance with the Court’s recent order.” Andrea Decl., Ex. C. This only serves to
          10     highlight the inequity in the current schedule with respect to contentions: Apple will be
          11     required to provide its invalidity contentions without first having Plaintiffs’
          12     infringement contentions.
          13            Third, the Court’s July 29, 2020 Order indicates that Plaintiffs may file additional
          14     ex parte applications if they dispute the sufficiency of Apple’s core technical document
          15     production, and that if they do so, the deadline “to present infringement contentions will
          16     be tolled until forty-two (42) days after the matter is resolved.” Dkt. 92 ¶ 4. While
          17     Apple believes its core technical document production is complete at this point (although
          18     it is performing additional searching to see if there are additional documents specific to
          19     the newly-asserted 130 claims), it is entirely possible that Plaintiffs will dispute the
          20     sufficiency of the production and file one or more additional ex parte applications, which
          21     would further extend the deadline for their infringement contentions. And, in the event
          22     Plaintiffs file an additional ex parte application, the deadline for its infringement
          23     contentions will be tolled until after the parties are currently scheduled to submit their
          24     proposal for initial reduction of claims and prior art references, as discussed above. As
          25     the Court noted during the July 10, 2020 hearing, it is “fundamentally unfair to the
          26     parties and inefficient to require reduction of the number of claims for prior art
          27     references prior to the full disclosure of the infringement contentions and the invalidity
          28     contentions.” See 7/10/20 Hearing Tr. at 3:18-20.

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            1           In short, the parties are now in a situation where 130 brand new claims from five
            2    new patents are being asserted that were identified for the first time just over a week
            3    ago, and Apple has only weeks to identify prior art and prepare its defenses to those
            4    patents before its deadline to serve invalidity contentions. Moreover, the current
            5    schedule requires that Apple prepare those invalidity contentions without having
            6    Plaintiffs’ disclosure of asserted claims and infringement contentions. The case is
            7    radically different than it was when the original Scheduling Order was entered, and
            8    Apple requests a case management conference so that the parties and the Court can
            9    discuss preparation of a new schedule that will accommodate these recent developments
          10     and provide sufficient time for the parties to litigate the newly added patents.
          11     B.    Ex Parte Relief Is Necessary and Appropriate
          12           As discussed above, Apple will suffer prejudice if it were not permitted to bring
          13     this application, and Apple is without fault in creating the need for ex parte relief, as the
          14     scheduling issues are the result of newly added patents. Additionally, this application
          15     could not be heard according to regularly-noticed motion procedures, as a regularly-
          16     noticed motion would not be heard until September 14, 2020, which is after the current
          17     deadline for Apple’s invalidity contentions. Accordingly, ex parte relief is necessary
          18     and appropriate here. See Malch v. Dolan, No. EDCV 15-517-DDP, 2018 WL 6017000
          19     at *2 (C.D. Cal. Apr. 12, 2018).
          20                                   II.    CONCLUSION
          21           For the foregoing reasons, Apple respectfully requests that the Court issue an
          22     Order scheduling a case management conference.
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            7
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            9
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